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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

 JOYCELYN PEREZ,

         Plaintiff,

 v.

 OVERSEAS TRAVEL OF FLORIDA, LLC
 D/B/A OVERSEAS LEISURE GROUP,
 FELIX BRAMBILLA, and
 TRICIA C. MENENDEZ,

       Defendants.
 __________________________________/

                                              COMPLAINT
                                          {Jury Trial Demanded}

         Plaintiff JOYCELYN PEREZ (“Perez”) brings this action against Defendants

 OVERSEAS TRAVEL OF FLORIDA, LLC D/B/A OVERSEAS LEISURE GROUP (“OLG”),

 FELIX BRAMBILLA (“Brambilla”), and TRICIA C. MENENDEZ (“Menendez”) and alleges as

 follows:

 1.     This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-219

 (“FLSA”). Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff was a resident of Florida and an “employee” of

 Defendants as defined by the FLSA.

 3.     At all times material hereto, OLG was a Florida corporation that regularly transacted

 business in Broward County, Florida.

 4.     Upon information and belief, OLG’s gross sales or business generated was over $500,000

 per year at all times material hereto.




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 5.     OLG was an enterprise engaged in commerce or the production of goods for commerce

 and is covered by the FLSA at all times material hereto.

 6.     At all times material hereto, Perez engaged in interstate communication on a regular and

 recurring basis, including but not limited to communication via telephone with vendors located

 in Qatar, an average of five times per week.

 7.     Perez engaged in interstate commerce on a regular and recurring basis and is individually

 covered by the FLSA.

 8.     At all times material hereto, Perez engaged in interstate commerce on a regular and

 recurring basis, including but not limited to interstate travel to Qatar.

 9.     Brambilla is an FLSA employer as defined in 29 U.S.C. § 203(d), is an owner and/or

 manager of OLG, ran the day-to-day operations, and had operational control over OLG, and was

 directly involved in decisions affecting duties, employee compensation, and hours worked by

 employees, such as Plaintiff.

 10.    Menendez is an FLSA employer as defined in 29 U.S.C. § 203(d), is an owner and/or

 manager of OLG, ran the day-to-day operations, and had operational control over OLG, and was

 directly involved in decisions affecting duties, employee compensation, and hours worked by

 employees, such as Plaintiff.

 11.    OLG operates a business involved in travel arrangements and event management.

 12.    Defendants have employees handling, selling, or otherwise working on goods or

 materials that have been moved in or produced for commerce, including but not limited to

 computers, phones, pens, and paper.

 13.    Perez worked for Defendants as an executive assistant.

 14.    Defendants failed to pay Perez’s full and proper overtime wages.




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 15.     Defendants knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

 16.     Attached as Exhibit A is a preliminary calculation of Perez’s claims, including date

 ranges, hours worked, rates of pay, and unpaid wages; these amounts may change as Plaintiff

 engages in the discovery process.

 17.     Plaintiff retained the services of the undersigned and is obligated to pay for the legal

 services provided.

                                      COUNT I
                    VIOLATION OF THE FAIR LABOR STANDARDS ACT
                             AGAINST ALL DEFENDANTS

 18.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-17 above as if

 set forth herein in full.

 19.     Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b), Plaintiff is entitled to (i)

 time-and-a-half overtime pay and (ii) liquidated damages.

 20.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

          WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

 plus costs, reasonable attorneys’ fees, and such other remedy as the court deems just and

 appropriate.




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                                    Respectfully submitted,

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